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EXHIBIT A

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PORZIO, BROMBERG & NEWMAN, P.C.
100 Southgate Parkway

Morristown, NJ 07962-1997

Phone: (973) 538-4006

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Vito A. Gagliardi, Jr., Bsq. (024821989)
Weston J. Kulick, Esq. (251092017)

Attomeys for Plaintiff CC Ford Group, LLC

CC FORD GROUP, LLC, SUPERIOR COURT OF NEW JERSEY
LAW DIVISION: SOMERSET COUNTY
Plaintiff,
DOCKET NO,: SOM-L-541-22
v.
CIVIL ACTION
JENNIFER JOHNSON,
SUMMONS
Defendant.

From The State of New Jersey To The Defendant(s) Named Above:
Jennifer Johnson
78 Allview Avenue
Brewster, NY 10509
The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute this
complaint, you or your attorney must file a written answer or motion and proof of service with the
deputy clerk of the Superior Court in the county listed above within 35 days from the date you
received this summons, not counting the date you received it. (A directory of the addresses of each
deputy clerk of the Superior Court is available in the Civil Division Management Office in the
county listed above and online at http://www.njcourts.gov/forms/10153__deptyclerklawref pdf.) If
the complaint is one in foreclosure, then you must file your written answer or motion and proof of
service with the Clerk of the Superior Courl, Hughes Justice Complex, P.O. Box 971, Trenton, NJ
08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case

Information Statement (available from the deputy clerk of the Superior Court) must accompany

your answer or motion when it is filed. You must also send a copy of your answer or motion to

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plaintiff's attorney whose name and address appear above, or to plaintiff, if no attommey is named
above. A telephone call will not protect your rights; you must file and serve a written answer or
niotion (with fee of $175.00 and completed Case Information Statement) if you want the court o
hear your defense.

If you do not file and serve a written answer or motion within 35 days, the court may enter
a judgment against you for the relief plaintiff demands, plus interest and costs of suit. If judgment
is entered against you, the Sheriff may seize your money, wages or property to pay all or part of
the judgment.

If you cannot afford an attorney, you may call the Legal Services office in the county where
you live or the Legal Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-
5529), Lf you do not have an attorney and are not eligible for free legal assistance, you may obtain
a refertal to an attorney by calling one of the Lawyer Referral Services, A directory with contact
information for local Legal Services Offices and Lawyer Referral Services is available in the Civil

Division Management Office in the county listed above and online at

http://www. judiciary, state.nj.us/prose/10153 deptyclerklawref.pdf.

s/ Michelle M. Smith, Esq.
Clerk of the Superior Court

DATED: May 17, 2022

Name of Defendant to Be Served: Jennifer Johnson

Address of Defendant to Be Served: 78 Allview Avenue
Brewster, NY 10509

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Attormeys for Plaintiff CC Ford Group, LLC

CC FORD GROUP, LLC, SUPERIOR COURT OF NEW JERSEY
LAW DIVISION: SOMERSET COUNTY
Plaintiff,
DOCKET NO.: SOM-L-
v.
CIVIL ACTION
JENNIFER JOHNSON,
COMPLAINT
Defendant. |

Plaintiff CC Ford Group, LLC ("Plaintiff") by and through its attorneys, Porzio, Bromberg
& Newman, P.C., by way of Complaint against Defendant Jennifer Johnson ("Johnson") alleges

as follows:
NATURE OF THE ACTION

1. Plaintiff seeks relief against Defendant arising out Defendant's willful, bad faith
conduct in connection with breaches of the parties’ contractual agreements governing employment
and consulting relationships.

PARTIES

2h Plaintiff, CC Ford Group LLC, is a limited lability company organized under the

laws of New Jersey and having a principal place of business at 150 Morristown Road, Suite 102,

Bemardsville, NJ 07924 and is comprised of subsidiary and affiliated companics, including CC

Ford Group West, LLC (collectively "the Company").

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3. Defendant Jennifer Johnson is a natural person who resides at 78 Allview Avenue

Brewster, NY 10509,

VENUE

4, Venue in the Superior Court of New Jersey, Law Division, Somerset Vicinage is
proper in accordance with R, 4:3-2(a)(2) because Plaintiff conducts business within Somerset

County.

FACTUAL BACKGROUND

5. This case arises as a result of Defendant's unlawful conduct committed when she
was employed by and serving as the Managing Director of CC Ford Group West, LLC as well as
following her separation from the Company in March 2022 whereafter she served as an
independent contractor performing work for the Company.

6. The Company is a comprehensive medical communications firm engaged in the
business of pharmaceutical marketing services, including advertising and promotion, web site
development and management, medical education, meeting planning, and other related marketing
services associated with the pharmaceutical industry. With more than 20 years’ experience in, and
an extensive history of, launching products for the world's largest pharmaceutical clients, up-and-
coming biotechnology companies, and leading devicc manufacturers, the Company has spent
countless dollars and hours to provide scientific and strategic support through all stages of a
product's life cycle, from early-stage clinical trial results and market development, through launch
and expanding indications, as well as final-stage evergrecning opportunities. In this capacity the
Company has supported industry-leading product launches through a systematic process that

provides a complete strategic solution with flawless implementation and has worked with leading
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companies to change the treatment paradigm in many significant markets including oncology,

hematology, cardiovascular disease, diabetes, pain, neurology, infectious diseases, and many rare

conditions.

7. Defendant worked for CC Ford Marketing Group, LLC directly until about 10 years

ago, at which point she was assigned to its wholly-owned subsidiary, CC Ford Group West, ILC.

8. CC Ford Marketing Group, LLC is the former name by which Plaintiff conducted

business. Plaintiff ceased utilizing “Marketing” in its entity name in 2004.

9, Until March 26, 2022, Defendant maintained a senior position at the Company as

CC Ford Group West, LLC's Managing Director.

10. On or about August 31, 2003, Defendant signed an Employee Non-Competition,

Non-Solicitation, Confidentiality and Dispute Resolution Agreement ("the Non-Compete") with

CC Ford Marketing Group, LLC.

11. Pursuant to the Non-Compete, Defendant agreed to be prohibited from competing

with the Company during Defendant's employment and for a period of one (1) year subsequent to

her employment'’s termination.
12. Specifically, the Non-Compete provides:

a. Restrictions on Competition. During Employee's
employment with the Company and for a period of one (1)
year after termination of Employee's employment with the
Company, Employee will not, directly or indirectly, own any
equity interest or option or right to acquire an cquity intcrest
in any Competitive Business as defined in subsection (c)
below (other than in Employee's capacity as a holder of not
more than five percent (5%) of the combined voting power
of the outstanding stock uf a publicly-held company).

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13. Pursuant to the Non-Compete Defendant agreed to be prohibited from soliciting
away the Company's employces during Defendant's employment and for a period of one (1) year

subsequent to her employment's termination.
14. Specifically, the Non-Compete provides:

b. Restrictions on Enticement. During Employee's
employment with the Company and for a period of one (1)
year after termination of Employee's employment with the
Company, Employee will not, directly or indirectly, solicit,
interfere with, hire, offer to hire any employee of the
Company, or induce any employee of the Company to
discontinue his or her employment with the Company in
order to become employed by or associated with any
business with which Employee is employed or associated
with in any capacity.

15. Pursuant to the Non-Compete Defendant agreed to be prohibited from soliciting the

Company's clients or business duriug Defendant's employment and for a period of two (2) years

subsequent to her employment's termination.
16. Specifically, the Non-Compete provides:

c, Restrictions on Customer Contact. During Employee's
employment with the Company and for a period of two (2)
year after termination of Employee's employment with the
Company, Employee will not solicit for any Competitive
Business, directly or indirectly, any Account, client or
customer with whom the Company has conducted any
business or for whom the Company has performed any
services during the one (1) year prior to the termination of
Employee's employment with the Company, or any
potential account, client or customer with whom the
Company has had substantial coniact during the one (1)
year period prior to the termination of Employcc's
employment with the Company. For the purposes of this
Section |(c), the Company will be deemed to have had
‘substantial contact’ with a potential account, client or
customer if it has identified a business opportunity and a

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contact person within the potential account, client or
customer and has communicated with the potential account,
client or customer concerning the identified business
opportunity.

17, Pursuant to the Non-Compete Defendant agreed to be prohibited from disparaging
the Company in a manner resulting in harm to or loss of the Company's business subsequent to her
employment's termination.

18. Specifically, the Non-Compete provides:

d. Non-Disparagement. During Employee's employment
with the Company, and at all times after termination of
Employee's employment with the Company, Employee
will not disparage the Company, and the Company's
officers, directors, employees, shareholders, and agents, in
any manner likely to be harmful to them or their business,
business reputation, or personal reputation; provided that

Employee shall respond accurately and fully to any
question, inquiry or request for information when required

by legal process.

19. During the course of Defendant's employment with the Company, Defendant had
access to the Company's customer information and goodwill, existing business, equipment,
confidential and proprietary information, and trade secrets, to use solely for the benefit of the
Company.

20. By virtue of her senior position at the Company, Defendant had the ability to access
files containing virtually all of the Company's most sensitive documents containing its

competitively sensitive and confidential information, including critical employce and customer

information.

21. Onor about February 28, 2022, Defendant informed the Company of her intention

to resign.

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22. After informing the Company of this intention, Defendant did not cxecute a
termination agreement with the Company.

23. Instead, Defendant proposed that she and the Company agree on a message to share
with employees and clients regarding her departure.

24, Contrary to initial indications, prior to her departure Defendant began contacting
the Company's clients, and employees, to discuss her departure from the Company.

25. In so doing, Defendant effectively co-opted the Company's customer goodwill,
business opportunities, equipment, confidential and proprietary information, trade secrets, and
other resources she encountered during her employment with the Company, while still employed
at the Company.

26. Defendant's final day with the Company in her role as CC Ford Group West, LLC's
Managing Director was March 25, 2022.

27. Prior to her departure, Plaintiff requested that Defendant return all Company items,
including her laptop, keys, and American Express credit card by noon on her last day as an
employee.

28. Defendant did not return the above items, as requested.

29. Subsequent to her departure as an employcc, Defendant had agreed to work on
certain defined projects as an Independent Contractor with CC Ford Group LLC and CC Ford
Group West contingent upon a Consulting Agreement ("the Consulting Agreement") entered into
on March 26, 2022 between Defendant and CC Ford Group, LLC its affiliated companies,

including, but not limited to CC Ford Group West LLC.

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30, The term of this consulting arrangement was to begin on the effective date of the
Consulting Agreement, March 26, 2022, and end on July 17, 2022.

31. The Consulting Agreement provided that Defendant would perform the role of
Consultant: Content Development and Strategic Consulting.

32. Pursuant to the Consulting Agreement Defendant "agree[d] to maintain
confidentiality of this work in accordance with the Confidentiality Agreement, and [was]
forbidden/will refrain from communicating information, in any mamner, about the project(s), or
any relaled information, with all outside parties other than Company employees without written
consent from the Company's President. In addition to confidentiality, the contractor is expressly
forbidden to utilize the names of CC Ford Group LLC or its affiliates, or CC Ford Group LLC's
client(s) names(s), or any reference to the program at hand for promotional purpose without written
permission from the Company.”

33. While the Consulting Agreement acknowledges that Defendant "would pursuc
other business opportunities during the term of this Agreement” Defendant also expressly
"agree[d], for the duration of the term of this agreement, not to pursue any business opportunities
that will create a conflict of interest with the Company, and to notify the Company immediately,
in writing, of any actual or potential conflict of interest."

34. — Pursuant to the Consulting Agreement Defendant further “agree|d], for the duration
of the term of this Agreement, not to solicit or any client, customer, or employee of the Company

lo engage in any business relationship with Contractor other than in furtherance of the objectives

of [the Consulting Agreement].”

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35. Moreover, as a condition of the Consulling Agreement, Defendant was required to
sign a Confidentiality Agreement ("the March 2022 Confidentiality Agreement").

36. Defendant entered into the March 2022 Confidentiality Agreement with CC Ford
Group, LLC and all subsidiary and affiliated companies, including but not limited to CC Ford
Group, LLC and CC Ford Group West, LLC.

37. The March 2022 Confidentiality Agreement requires Defendant to "retain in
confidence all Confidential Information disclosed to Consultanl by or on behalf of CC FORD
GROUP, whether or net in writing or recorded in electronic or other format" for a period of ten
(10) years following its effective date.

38. The March 2022 Confidentiality Agreement further provides that Defendant "will
not, either direetly or indirectly, use any Confidential Information for any purpose other than to
discharge her duties under the CONSULTING AGREEMENT without the pnor written consent
of CC FORD GROUP."

39. Despite the foregoing contractual provisions, Plaintiff has discovered that,
subsequent to Defendant's resignation from the Company and initiation of the consulting
amangement, Defendant has diverted business opportunities from the Company.

40. As of the date of this Complaint, the Company 1s aware of at least two clicnls with
respect to which, while engaged in the consulting arrangement, Defendant used confidential and
proprictary infonnation relating to work for which customers sought to engage the Company to
solicit those clients and induce them to terminate their relationships with the Company, in violation
of Defendants Consulting Agreement, the March 2022 Confidentiality Agreement, and the Non-

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41. Defendant was paid a salary for her work on behalf of Plaintiff during the relevant
period of employment.

42. Defendant was also paid a fee in connection with the services performed pursuant
to the Consulting Agreement,

43. Thereafter, Plaintiff became aware of an April 7, 2022 email from Defendant sent
from a Pharmalssentia email address.

44, PharmaEssentia is a client of the Company which, subsequent to Defendant's
termination as an employee, reneged on an anticipated business relationship with the Company.

45. This April 7, 2022 email was sent during the time period in which Defendant was
achvely consulting for the Company.

46. Defendant also misrepresented herself to the Company's travel agent by having an
assistant attempt to create an unapproved stop in Vienna during a consulting trip on behalf of the
Company that was only authorized to take place in Dubai.

FIRST COUNT
BREACH OF CONTRACT

47. Plaintiff repeats and re-alleges the statements made in each of the preceding
paragraphs of the Plaintiff's Complaint as if same were set forth at length herein.

48. The parties' Non-Compete Agreement, Consulting Agreement, and March 2022
Confidentiality Agreement constituted valid and enforceable contracts among Plaintiff and
Defendant.

49, Defendant breached the aforementioned agreements as sct forth above and herein.

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50. Defendant threatens to inflict further real, imminent and irreparable harm to the

Company in breaching the aforementioned agreements such that prompt action is necessary to

protect the Company's rights.

51. Defendant is raiding the Company's customers and exploiting the Company's

substantial investments in customer cultivation, market testing and promotion.

52. As a direct and proximate result of Defendant's breaches, Defendant has caused

Plaintiff economic damages and irreparable loss of good will, profits, revenue and business

opportunities, including the loss of customers and related business,
WHEREFORE, Plaintiff demands judgment against Defendant, awarding Plaintiff:

(a) Enforcement of the parties’ Non-Compete Agreement, Consulting
Agreement, and March 2022 Confidentiality Agreement and injunction
enjoining and restraining Defendant from directly or indirectly making any
disparaging or defamatory remarks about Plaintiff, from directly or
indirectly interfering with Plaintiffs contractual relationships, including, but
not limited to, attempting to divert business from Plaintiff, and soliciting
Plaintiff's customers and employees;

(b) | Compensatory and consequential damages in an exact amount to be
determined at trial;

(c) Punitive damages in an exact amount to be determined at trial;

(d)  Disgorgement compelling Defendant to reimburse Plaintiff for all wages
paid by Plaintiff during the period of Defendant's disloyalty;

(ec) Attorneys’ fees, and costs against Defendant in favor of Plaintiff;

(f Such other legal and equitable relief as the Court may deem just and proper.

SECOND COUNT
BREACH OF FLIDUCTARY DUTY

53. Plaintiff repeats and re-alleges the statements made in each of the preceding

paragraphs of the Plaintiff's Complaint as if same werc set forth at length herein.

54. As CC Ford West 1.1] 's Managing Director, Defendant had a fiduciary relationship

with Plaintiff,

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55. As fiduciary, Defendant owed Plaintiff the utmost duties of loyalty, honesty, care
and fair dealing.

56. Defendant violated the duties owed to Plaintiff by engaging in the wrongful conduct
described herein.

57. Defendant breached her fiduciary duties to Plaintiff by soliciting Plaintiffs
customers and diverting their business from the Company on specific jobs for which those
customers sought originally to engage the Company, while Defendant was still employed by and/or
consulting for the Company.

58. Defendant also breached those fiduciary duties by using the Company's confidential
and proprietary information, obtained in the course and scope of Defendant's employment and/or
consulting arrangement with Plaintiff, to solicit the Company's customers to work with Defendant.

59. Asa direct and proximate cause of Defendant's breaches of her fiduciary duties,
Plaintiff has suffered, and continues to suffer, significant economic loss and irreparable damages
and harm, and will continue to do so unless and until] Defendant is properly enjoined trom
continuing to harm Plaintiff.

60. | Furthermore, Defendant's breach of her fiduciary duties was willful, wanton, and
malicious,

61. | Moreover, pursuant to the New Jersey Supreme Court's decision in Kaye v.
Rosefielde, 223 N,J. 218 (2015), Plaintiff is entitled to the remedy of equitable disgorgcment

directing that all sums paid to Defendant during the period she violated her duty of loyalty be

repaid.

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WHEREFORE, Plaintiff demands judgment against Defendant, awarding Plaintiff:

(a) Enforcement of the parties’ Non-Compete Agreement, Consulting
Agreement, and March 2022 Confidentiality Agreement and injunction
enjoining and restraining Defendant from directly or indirectly making any
disparaging or defamatory remarks about Plaintiff, from directly or
indirectly interfering with Plaintiff's contractual relationships, including, bul
not limited to, attempting to divert business from Plaintiff, and soliciting
Plaintiff's customers and employees;

(b) Compensatory and consequential damages in an exact amount to be
determined at trial;

(c) Punitive damages in an cxact amount to be determined at trial;

(d) Equitable disgorgement compelling Defendant to reimburse Plaintiff for all
wages paid by Plaintiff during the period of Defendant's disloyalty,

(c)  Attorneys' fees, and cosls against Defendant in favor of Plaintiff;

(f) Such other legal and equitable relief as the Court may deem just and proper.

THIRD COUNT
TORTIOUS INTERFERENCE WITH EXISTING BUSINESS RELATIONSHIPS

62. Plaintiff repeats and re-alleges the statements made in each of the preceding
paragraphs of the Plaintiffs Complaint as if same were set forth at length herein.

63. Plaintiff maintains business and contractual relationships with its clients to provide
consulting services when requested by customers.

64. Defendant has interfered with Plaintiff's business and contractual relationship with
its clients by soliciting the Company's clients and diverting them from the Company on specific
jobs for which those customers sought originally to engage the Company.

65. Defendant took these actions without privilege to do so, knowing the cffect the
actions would have on Plaintiff's existing business and contractual relationships.

66. Defendant was particularly able to interfere wilh the Company's existing customers

and business relations by virtue of her employment as CC Ford West LLC's Managing Director,
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67. In the absence of Defendant's actions and interference Plaintiff would have had a
reasonable probability of cconomic gain from the customers who attempted to engage the
Company for services but were diverted by Defendant.

68. Asa direct and proximate cause of Defendant's actions, Plaintiff has suffered, and
continues to suffer, damages, including but not limited to, contractual damages, consequential
damages, lost profits, and irreparable harm by tarnishing Plaintiff's reputation within the industry,
causing an unquantifiable loss of Plaintiffs good will, and threatening future losses to Plaintiffs
business operations and revenue.

WHEREFORE, Plaintiff demands judgment against Defendant, awarding Plaintiff:

(a) Enforcement of the partties' Non-Compete Agreement, Consulting
Agreement, and March 2022 Confidentiality Agreement and injunction
enjoining and restraining Defendant from directly or indirectly making any
disparaging or defamatory remarks about Plaintiff, from directly or
indirectly interfering with Plaintiff's contractual relationships, including, but
not limited to, attempting to divert business from Plaintiff, and soliciting
Plaintiff's customers and employees;

(b) Compensatory and consequential damages in an exact amount to be
determined at trial;

(c) Punitive damages in an exact amount to be determined at trial;

(d) Disgorgement compelling Defendant to reimburse Plaintiff for all wages
paid by Plaintiff during the period of Defendant's disloyalty;

(e) Attorneys’ fees, and costs against Defendant in favor of Plaintiff;

(f) Such other legal and equitable relief as the Court may deem just and proper.

FOURTH COUNT
TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

69. Plaintiff repeats and re-alleges the statements made in each of the preceding
paragraphs of the Plaintiff's Complaint as if same were set forth at length herein.
70 Plaintilfs retention of clients to pursue future business represents a cognizable

protectable interest.

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71. In the absence of Defendant's actions and interference Plaintiff would have had a
reasonable probability of economic advantage from its clients and industry contacts, including
prospective clienis who attempted to engage the Company to perform services but were diverted
by Defendant.

72. Defendant has maliciously interfered with Plaintiff's interest in retaining clients for
future business and the economic advantages associated with same her obstructionist measures,
including intentionally utilizing the Company's confidential and proprietary information, goodwill,
and trade secrets to lure away existing customers with future business and prospective customers
from the Company instead of securing their business for the Company, as Defendant should have
done given her duties as CC Ford West LLC's Managing Director and the scope of her consulting
arrangement with the Company.

73. Defendant's actions were taken intentionally, without justification, and with the
knowledge and expectation that Plaintiff's rights and expectations would be adversely affected.

74. Defendant's conduct as described above has resulted, and continues to result in,
material loss to Plaintiff in terms of prospective services diverted from the Company.

75. Asa direct and proximate result of Defendants’ interforence Plaintiff has suffered,
and will continue to suffer substantial harm, including loss of a prospective gain, as well as
damages.

WHEREFORE, Plaintiff demands judgment against Defendant, awarding Plaintiff:

(a) Finforcement of the parties’ Non-Compete Agreement, Consulting
Agreement, and March 2022 Confidentiality Agreement and Injunction
enjoining and restraining Defendant from directly or indirectly making any

disparaging or defamatory remarks about Plaintiff, from dircctly or
indirectly interfering with Plaintift's contractual relationships, including, but

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not limited to, attempting to divert business from Plaintiff, and soliciting
Plaintiff's customers and employees:

(b) Compensatory and consequential damages in an exact amount to be
determined at trial;

{c) Punitive damages in an exact amount to be determined at trial;

(4) Disgorgement compelling Defendant to reimburse Plaintiff for all wages
paid by Plaintiff during the period of Defendant's disloyalty;

(e) Attomeys! fees, and costs against Defendant in favor of Plaintiff;

(f) Such other legal and equitable relief as the Court may deem just and proper.

FIFTH COUNT
TRESPASS TO CHATTEL

76. Plaintiff repeats and re-alleges the statements made in each of the preceding

paragraphs of the Plaintiff's Complaint as if same were set forth at length herein.

77, At all times relevant hereto, Plaintiff had possessory rights and/or interests in the

Company laptop, keys, and American Express credit card, used by Defendant in connection with
her employment with the Company.

78. Defendant has deprived Plaintiff of the use and possession of said personal property

for a substantial time, causing damages.

79. To date, Defendant has not returned said personal property despite Plaintiffs

multiple requests for same.

80. Defendant's actions described hereinabove constitute trespass to chattels,

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WHEREFORE, Plaintiff demands judgment against Defendant, awarding Plaintiff:

(a) Return of any and all Company items retained by Defendant, including the
Company laptop, keys, and American Express credit card;

(b) Compensatory and consequential damages in an exact amount to be
determined at trial;

(c) Punitive damages in an exact amount to be determined at trial;

(d) Attorneys’ fees, and costs against Defendant in favor of Plaintiff;

(e) Such other legal and equitable relief as the Court may deem just and proper,

PORZ10, BROMBERG & NEWMAN, P.C.
Attorneys for Plaintiff CC Ford Marketing,
LLC

By: 4 Ch Paglia: |

Vito A. Ggliardi, Jr., Esq.

Dated: May 16, 2022
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SOM-L-000541-22 05/16/2022 5:14:38 PM Pg 17 of 17 Trans ID: LCV20221925300

RULE 4:5-1 CERTIFICATION

Thereby certify that the matter in controversy is not the subject of any other action pending
in any other court or of any pending arbitration proceeding, that no other action or arbitration is

contemplated, and that I know of no other party who should be joined in this action.

VE WAeytaids |

Vito A, (Gagliardi, Jr., Esq.

Dated: May 16, 2022

RULE 1:38-8 CERTIFICATION

I certify that confidential personal identifiers have been redacted from documents now
submitted to the Court and will be redacted from all documents submitted in the future in

accordance with Rule 1:38-7(b).

is Lh Aagla'd:| .

Vit A. Gagliardi, Jr., Esq.

Dated: May 16, 2022

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Case 3:22-cv-04143-MAS-TJB Document 1-1 Filed 06/17/22 Page 21 of 22 PagelD: 26
SOM-L-00054 1-22 05/16/2022 5:14:38 PM Pg1of1 Trans 1D: LCV20221925300

Civil Case Information Statement

Case Detaiis: SOMERSET | Civil Part Docket# L-000541-22
Case Caption: CC FORD GROUP, LLC VS JOHNSON
JENNIFER
Case Initiation Date: 06/16/2022
Attomey Name: VITO ANTHONY GAGLIARDI JR
Firm Name: PORZIO BROMBERG & NEWMAN PC
Address: 100 SOUTHGATE PKWY PO BOX 1997
MGRRISTOWN NJ 079621997
Phone: 9735384006
Name of Party: PLAINTIFF : CC Ford Group, LLC
Name of Defendant's Primary Insurance Company
(if known); Unknown Are sexual abuse claims alleged by: CC Ford Group, LLC? NO

Case Type: CONTRACT/COMMERCIAL TRANSACTION
Document Type: Complaint

Jury Demand: NONE

Is this a professional malpractice case? NO

Related cases pending: NO

If yes, list docket numbers:

Do you anticipate adding any partias (arising out of same
transaction or occurrence)? NO

Dogs this case Involve clalms related to COVID-197 NO

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_.. THE INFORMATION PROVIDED ON THIS FORM CANNOT BEINT

Bibs teks

Fi bh
CASE CHARACTERISTICS FOR PUTIOSES OF DETERMINING IF CASE IS: 1S APPROPRIATE F FOR IR MEDIATION

Do parties have a current, past, or recurrent relationship? YES

If yes, Is that relationship: Employer/Employee
Does the statute governing this case provide for payment of fees by the losing party? NO

Use this space to alert the court to any special case characteristics that may warrant Individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommodation:

WU an interpreter be needed? NO
If yes, for what language:

Please check off each applicable category: Putative Class Actlon? NO Title 59? NO Consumer Fraud? NO

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1 cerilfy that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future In accordance with Rule 1:38-7(b)

OS/16/2022 is} VITO ANTHONY GAGLIARDI JR
Dated

Signed
Case 3:22-cv-04143-MAS-TJB Document 1-1 Filed 06/17/22 Page 22 of 22 PagelD: 27
SOM-L-000541-22 05/17/2022 5:22:09 AM Pg 1of1 Trans ID: LCV20221927119

SOMERSET COUNTY SUPERIOR COURT
40 NORTH BRIDGE STRERT
1ST FLR PO BOX 3000
SOMERVILLE NJ 08876-1262
TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (908) 332-7700
COORT HOURS 9:30 AN - 4:30 PM

DATE: MAY 16, 2022
RE: CC FORD GROUP, LLC VS JOHNSON JENNIFER
DOCKET: SOM L -000541 22

TRE ABOVE CASE RAS BEEN ASSIGNED TO: TRACK 2.

DISCOVERY IS 300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST,

THE PRETRIAL JUDGE ASSIGNED IS: HON ROBERT G, WILSON

IF YOU HAVE ANY QUESTIONS, CONTACT TEAM 001
AT: (908) 332-7700 EXT 13467.

IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
PLAINTIFY MUST SERVE COPIES OF THIS FORM ON ALL, OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
ATTENTION:

ATT: VITO A. GAGLIARDI

PORZIO BROMBERG & NEWMAN PC

100 SOUTHGATE PKWY

PO BOX 1997

MORRISTOWN NJ 07962-1997

ECOURTS
